                  UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Joshua Michael Earnshaw
                                           Case No.: 1-18-02669HWV

                                                           Chapter 13
                     Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Freedom Mtg
 Court Claim Number:             04
 Last Four of Loan Number:       8711
 Property Address if applicable: 765 Ridgelyn Dr

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.     Allowed prepetition arrearages:                                      $66,355.98
 b.     Prepetition arrearages paid by the trustee:                          $66,355.98
 c.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c):
 d.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c) and paid
        by the trustee:
 e.     Allowed postpetition arrearage:                                      $4,918.37
 f.     Postpetition arrearage paid by the trustee:                          $4,918.37
 g.     Total b, d, and f:                                                   $71,274.35

 PART 3: POSTPETITION MORTGAGE PAYMENT

  Mortgage is paid through the trustee.
  Current monthly mortgage payment:                $1,401.34
  The next postpetition payment was due
  on:                                              June 2023

PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs




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and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.

To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: June 22, 2023                                   Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


   IN RE:     Joshua Michael Earnshaw                          CHAPTER 13
                              Debtor(s)
                                                               CASE NO: 1-18-02669HWV

                                 CERTIFICATE OF SERVICE


I certify that I am more than 18 years of age and that on June 22, 2023, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
unless served electronically.

  Served Electronically
  Melanie Walz Scaringi, Esquire
  2000 Linglestown Rd
  Suite 109
  Harrisburg PA 17110


  Served by First Class Mail
  Freedom Mortgage Corp
  10500 Kincaid Dr
  Fishers IN 46037-9764


  Joshua Michael Earnshaw
  765 Ridgelyn Dr
  Dallastown PA 17313


  I certify under penalty of perjury that the foregoing is true and correct.



  Date: June 22, 2023                                   /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                              Disbursements for Claim
Case: 18-02669          JOSHUA MICHAEL EARNSHAW
         FREEDOM MORTGAGE CORPORATION
                                                                                 Sequence: 24
         10500 KINCAID DRIVE
                                                                                    Modify:
         CASH PROCESSING
                                                                                Filed Date: 7/30/2018 12:00:00AM
         FISHERS, IN 46037-
                                                                                Hold Code:
 Acct No: 8711/PRE ARREARS/765 RIDGELYN DR



                                                Debt:        $17,360.48       Interest Paid:              $0.00
        Amt Sched:              $179,315.00                                     Accrued Int:               $0.00
         Amt Due:       $0.00                    Paid:       $17,360.48        Balance Due:                $0.00

Claim name                             Type      Date         Check #     Principal     Interest       Total Reconciled
                                                                                             DisbDescrp
 5200        FREEDOM MORTGAGE CORPORATION
520-0 FREEDOM MORTGAGE CORPORATION             03/15/2023     2022813     $2,975.22       $0.00   $2,975.22 03/23/2023


520-0 FREEDOM MORTGAGE CORPORATION             10/18/2022      2017801      $500.11       $0.00     $500.11 10/26/2022


520-0 FREEDOM MORTGAGE CORPORATION             09/13/2022     2016769      $583.57        $0.00     $583.57 09/30/2022


520-0 FREEDOM MORTGAGE CORPORATION             08/17/2022     2015719     $1,167.14       $0.00   $1,167.14 09/08/2022


520-0 FREEDOM MORTGAGE CORPORATION             06/14/2022     2013705      $472.30        $0.00     $472.30 07/14/2022


520-0 FREEDOM MORTGAGE CORPORATION             05/17/2022     2012655      $395.15        $0.00     $395.15 05/26/2022


520-0 FREEDOM MORTGAGE CORPORATION             01/19/2022     2008605      $472.29        $0.00     $472.29 02/09/2022


520-0 FREEDOM MORTGAGE CORPORATION             12/15/2021     2007594      $441.67        $0.00     $441.67 12/28/2021


520-0 FREEDOM MORTGAGE CORPORATION             08/18/2021     2003464     $1,034.51       $0.00   $1,034.51 08/27/2021


520-0 FREEDOM MORTGAGE CORPORATION             06/16/2021     2001448      $517.26        $0.00     $517.26 06/30/2021


520-0 FREEDOM MORTGAGE CORPORATION             05/18/2021     2000433      $517.26        $0.00     $517.26 05/27/2021


520-0 FREEDOM MORTGAGE CORPORATION             04/15/2021     1229060      $468.16        $0.00     $468.16 04/27/2021


520-0 FREEDOM MORTGAGE CORPORATION             03/17/2021     1228037      $468.17        $0.00     $468.17 03/30/2021


520-0 FREEDOM MORTGAGE CORPORATION             02/17/2021     1227029      $468.16        $0.00     $468.16 02/24/2021



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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
520-0 FREEDOM MORTGAGE CORPORATION      01/19/2021       1226005      $468.17      $0.00     $468.17 02/02/2021


520-0 FREEDOM MORTGAGE CORPORATION      12/10/2020       1224218      $953.46     $0.00      $953.46 12/29/2020


520-0 FREEDOM MORTGAGE CORPORATION      10/15/2020       1222468      $353.63     $0.00      $353.63 10/23/2020


520-0 FREEDOM MORTGAGE CORPORATION      04/14/2020       1216243      $450.00     $0.00     $450.00 04/29/2020


520-0 FREEDOM MORTGAGE CORPORATION      03/12/2020       1214948      $466.50     $0.00     $466.50 03/26/2020


520-0 FREEDOM MORTGAGE CORPORATION      02/13/2020       1213644      $933.00     $0.00     $933.00 02/21/2020


520-0 FREEDOM MORTGAGE CORPORATION      01/16/2020       1212276      $466.50     $0.00     $466.50 01/27/2020


520-0 FREEDOM MORTGAGE CORPORATION      12/12/2019       1210897      $466.50     $0.00     $466.50 12/19/2019


520-0 FREEDOM MORTGAGE CORPORATION      09/26/2019       1207213      $465.50     $0.00     $465.50 10/02/2019


520-0 FREEDOM MORTGAGE CORPORATION      07/11/2019       1204416      $931.00     $0.00     $931.00 07/19/2019


520-0 FREEDOM MORTGAGE CORPORATION      06/06/2019       1203042      $465.50     $0.00     $465.50 06/14/2019


520-0 FREEDOM MORTGAGE CORPORATION      04/11/2019       1200383      $459.75     $0.00      $459.75 04/19/2019


                                                      Sub-totals: $17,360.48      $0.00 $17,360.48

                                                     Grand Total: $17,360.48      $0.00




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                                            Disbursements for Claim
Case: 18-02669          JOSHUA MICHAEL EARNSHAW
         FREEDOM MORTGAGE CORPORATION
                                                                               Sequence: 24
         10500 KINCAID DRIVE
                                                                                  Modify:
         CASH PROCESSING
                                                                              Filed Date:
         FISHERS, IN 46037-
                                                                              Hold Code:
 Acct No: 8711/POST ARREARS/765 RIDGELYN DR
         POST-PETITION ARREARS 2ND AP


                                               Debt:        $4,918.37      Interest Paid:              $0.00
        Amt Sched:                 $0.00                                     Accrued Int:               $0.00
         Amt Due:       $0.00                  Paid:        $4,918.37       Balance Due:                $0.00

Claim name                           Type       Date        Check #     Principal    Interest       Total Reconciled
                                                                                          DisbDescrp
 5210        FREEDOM MORTGAGE CORPORATION
521-0 FREEDOM MORTGAGE CORPORATION            03/15/2023    2022813      $842.90       $0.00     $842.90 03/23/2023


521-0 FREEDOM MORTGAGE CORPORATION            10/18/2022     2017801     $141.69       $0.00     $141.69 10/26/2022


521-0 FREEDOM MORTGAGE CORPORATION            09/13/2022    2016769      $165.33       $0.00     $165.33 09/30/2022


521-0 FREEDOM MORTGAGE CORPORATION            08/17/2022    2015719      $330.66       $0.00     $330.66 09/08/2022


521-0 FREEDOM MORTGAGE CORPORATION            06/14/2022    2013705      $133.81       $0.00     $133.81 07/14/2022


521-0 FREEDOM MORTGAGE CORPORATION            05/17/2022    2012655      $111.94       $0.00     $111.94 05/26/2022


521-0 FREEDOM MORTGAGE CORPORATION            01/19/2022    2008605      $133.81       $0.00     $133.81 02/09/2022


521-0 FREEDOM MORTGAGE CORPORATION            12/15/2021    2007594      $125.13       $0.00     $125.13 12/28/2021


521-0 FREEDOM MORTGAGE CORPORATION            08/18/2021    2003464      $293.09       $0.00     $293.09 08/27/2021


521-0 FREEDOM MORTGAGE CORPORATION            06/16/2021    2001448      $146.54       $0.00     $146.54 06/30/2021


521-0 FREEDOM MORTGAGE CORPORATION            05/18/2021    2000433      $146.54       $0.00     $146.54 05/27/2021


521-0 FREEDOM MORTGAGE CORPORATION            04/15/2021    1229060      $132.64       $0.00     $132.64 04/27/2021


521-0 FREEDOM MORTGAGE CORPORATION            03/17/2021    1228037      $132.63       $0.00     $132.63 03/30/2021


521-0 FREEDOM MORTGAGE CORPORATION            02/17/2021    1227029      $132.64       $0.00     $132.64 02/24/2021



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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
521-0 FREEDOM MORTGAGE CORPORATION      01/19/2021       1226005      $132.63      $0.00     $132.63 02/02/2021


521-0 FREEDOM MORTGAGE CORPORATION      12/10/2020       1224218      $270.12     $0.00      $270.12 12/29/2020


521-0 FREEDOM MORTGAGE CORPORATION      10/15/2020       1222468      $269.15     $0.00      $269.15 10/23/2020


521-0 FREEDOM MORTGAGE CORPORATION      09/17/2020       1221427      $601.78     $0.00      $601.78 09/25/2020


521-0 FREEDOM MORTGAGE CORPORATION      08/12/2020       1220384      $545.34     $0.00     $545.34 08/27/2020


521-0 FREEDOM MORTGAGE CORPORATION      06/02/2020       1218319      $130.00     $0.00     $130.00 06/15/2020


                                                      Sub-totals: $4,918.37       $0.00   $4,918.37

                                                     Grand Total: $4,918.37       $0.00




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                                          Disbursements for Claim
Case: 18-02669           JOSHUA MICHAEL EARNSHAW
         FREEDOM MORTGAGE CORP
                                                                             Sequence: 07
         10500 KINCADE DRIVE
                                                                                Modify:
         SUITE 300
                                                                            Filed Date:
         FISHERS, IN 46037-9764
                                                                            Hold Code:
 Acct No: 8711



                                            Debt:        $48,995.50       Interest Paid:                 $0.00
        Amt Sched:                $0.00                                     Accrued Int:                  $0.00
         Amt Due:    $1,401.34               Paid:       $48,995.50        Balance Due:                   $0.00

Claim name                         Type      Date         Check #     Principal     Interest       Total Reconciled
                                                                                         DisbDescrp
 5010        FREEDOM MORTGAGE CORP
501-0 FREEDOM MORTGAGE CORP                06/13/2023     2025813     $1,401.34       $0.00      $1,401.34
                                                                                           Payment for 5/2023
501-0 FREEDOM MORTGAGE CORP                06/13/2023     2025813     $1,401.34       $0.00      $1,401.34
                                                                                           Payment for 6/2023
501-0 FREEDOM MORTGAGE CORP                04/18/2023     2023823     $1,401.34       $0.00      $1,401.34 04/26/2023
                                                                                           Payment for 4/2023
501-0 FREEDOM MORTGAGE CORP                03/15/2023     2022812     $1,401.34       $0.00      $1,401.34 03/22/2023
                                                                                           Payment for 1/2023
501-0 FREEDOM MORTGAGE CORP                03/15/2023     2022812     $1,401.34       $0.00      $1,401.34 03/22/2023
                                                                                           Payment for 2/2023
501-0 FREEDOM MORTGAGE CORP                03/15/2023     2022812     $1,401.34       $0.00      $1,401.34 03/22/2023
                                                                                           Payment for 3/2023
501-0 FREEDOM MORTGAGE CORP                01/18/2023     2020800     $1,401.34       $0.00      $1,401.34 01/25/2023
                                                                                           Payment for 12/2022
501-0 FREEDOM MORTGAGE CORP                12/13/2022     2019814     $1,311.20       $0.00      $1,311.20 12/22/2022
                                                                                           Payment for 11/2022
501-0 FREEDOM MORTGAGE CORP                10/18/2022     2017800     $1,311.20       $0.00      $1,311.20 10/25/2022
                                                                                           Payment for 10/2022
501-0 FREEDOM MORTGAGE CORP                09/13/2022     2016767     $1,311.20       $0.00      $1,311.20 09/30/2022
                                                                                           Payment for 9/2022
501-0 FREEDOM MORTGAGE CORP                08/17/2022     2015717     $1,311.20       $0.00      $1,311.20 09/07/2022
                                                                                           Payment for 7/2022
501-0 FREEDOM MORTGAGE CORP                08/17/2022     2015717     $1,311.20       $0.00      $1,311.20 09/07/2022
                                                                                           Payment for 8/2022
501-0 FREEDOM MORTGAGE CORP                06/14/2022     2013703     $1,311.20       $0.00      $1,311.20 07/13/2022
                                                                                           Payment for 6/2022
501-0 FREEDOM MORTGAGE CORP                05/17/2022     2012653     $1,311.20       $0.00      $1,311.20 05/26/2022
                                                                                           Payment for 5/2022


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Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
501-0 FREEDOM MORTGAGE CORP             05/17/2022    2012653     $1,311.20     $0.00    $1,311.20 05/26/2022
                                                                                  Payment for 4/2022
501-0 FREEDOM MORTGAGE CORP             04/12/2022     2011591 $1,311.20       $0.00    $1,311.20 04/28/2022
                                                                                  Payment for 3/2022
501-0 FREEDOM MORTGAGE CORP             03/16/2022    2010577     $1,311.20    $0.00    $1,311.20 04/06/2022
                                                                                  Payment for 2/2022
501-0 FREEDOM MORTGAGE CORP             01/19/2022    2008603     $1,311.20    $0.00    $1,311.20 02/09/2022
                                                                                  Payment for 1/2022
501-0 FREEDOM MORTGAGE CORP             12/15/2021    2007592     $1,310.20    $0.00    $1,310.20 12/29/2021
                                                                                  Payment for 11/2021
501-0 FREEDOM MORTGAGE CORP             12/15/2021    2007592     $1,311.20    $0.00    $1,311.20 12/29/2021
                                                                                  Payment for 12/2021
501-0 FREEDOM MORTGAGE CORP             11/16/2021    2006565     $1,310.20    $0.00    $1,310.20 11/24/2021
                                                                                  Payment for 10/2021
501-0 FREEDOM MORTGAGE CORP             10/14/2021    2005523     $1,310.20    $0.00    $1,310.20 10/29/2021
                                                                                  Payment for 9/2021
501-0 FREEDOM MORTGAGE CORP             08/18/2021    2003462     $1,310.20    $0.00    $1,310.20 08/27/2021
                                                                                  Payment for 7/2021
501-0 FREEDOM MORTGAGE CORP             08/18/2021    2003462     $1,310.20    $0.00    $1,310.20 08/27/2021
                                                                                  Payment for 8/2021
501-0 FREEDOM MORTGAGE CORP             06/16/2021    2001447     $1,310.20    $0.00    $1,310.20 06/30/2021
                                                                                  Payment for 6/2021
501-0 FREEDOM MORTGAGE CORP             05/18/2021    2000432     $1,310.20    $0.00    $1,310.20 05/28/2021
                                                                                  Payment for 5/2021
501-0 FREEDOM MORTGAGE CORP             04/15/2021    1229058     $1,310.20    $0.00    $1,310.20 04/27/2021
                                                                                  Payment for 4/2021
501-0 FREEDOM MORTGAGE CORP             03/17/2021    1228034     $1,310.20    $0.00    $1,310.20 03/29/2021
                                                                                  Payment for 3/2021
501-0 FREEDOM MORTGAGE CORP             02/17/2021    1227027     $1,310.20    $0.00    $1,310.20 02/24/2021
                                                                                  Payment for 2/2021
501-0 FREEDOM MORTGAGE CORP             01/19/2021    1226003     $1,310.20    $0.00    $1,310.20 02/02/2021
                                                                                  Payment for 1/2021
501-0 FREEDOM MORTGAGE CORP             12/10/2020    1224217     $1,288.22    $0.00    $1,288.22 12/29/2020
                                                                                  Payment for 11/2020
501-0 FREEDOM MORTGAGE CORP             12/10/2020    1224217     $1,310.20    $0.00    $1,310.20 12/29/2020
                                                                                  Payment for 12/2020
501-0 FREEDOM MORTGAGE CORP             10/15/2020    1222466     $1,288.22    $0.00    $1,288.22 10/23/2020
                                                                                  Payment for 10/2020
501-0 FREEDOM MORTGAGE CORP             09/17/2020    1221425     $1,288.22    $0.00    $1,288.22 09/24/2020
                                                                                  Payment for 9/2020

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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
501-0 FREEDOM MORTGAGE CORP             08/12/2020       1220383     $1,288.22     $0.00    $1,288.22 08/27/2020
                                                                                     Payment for 7/2020
501-0 FREEDOM MORTGAGE CORP             08/12/2020       1220383     $1,288.22    $0.00    $1,288.22 08/27/2020
                                                                                     Payment for 8/2020
501-0 FREEDOM MORTGAGE CORP             07/07/2020       1219326     $1,288.22    $0.00    $1,288.22 07/22/2020
                                                                                     Payment for 6/2020
                                                      Sub-totals: $48,995.50      $0.00 $48,995.50

                                                     Grand Total: $48,995.50      $0.00




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